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                            
               

                                                                                  

                   
   

               
         
                                                                    
  
                
                                                                     

 
   



    
    
          
                                                                     

    
 

   
   

   

   
   
                      
                                                                                         
                                
                        
            
                                                                                                           

                                                 

     
         
    
                                                       
                                                                     

  
                                                        
                                                                     
                                                                           


                                                                            
                                                                                                           
                                                                                                 
                                                          
            

                                                                    

                                                                              

                                                                                                                               

                                                                                                                               
                                          
                                                                                    

                                          
                                                                                     


                          
                                                                   
                                                                                                                                         



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       15-1164-cv
             United States Court of Appeals
                                            for the

                               Second Circuit

                       FLO & EDDIE, INC., a California Corporation,
                  individually and on behalf of all others similarly situated,

                                                                                 Plaintiff-Appellee,

                                             – v. –

                    SIRIUS XM RADIO, INC., a Delaware Corporation,

                                                                            Defendant-Appellant,

                                  DOES, 1 THROUGH 10,

                                                                                       Defendants.
                            ––––––––––––––––––––––––––––––
                ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

  MOTION OF COPYRIGHT AND INTELLECTUAL PROPERTY LAW
   PROFESSORS FOR LEAVE TO FILE A BRIEF AMICI CURIAE IN
  SUPPORT OF DEFENDANT-APPELLANT SIRIUS XM RADIO INC.


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        Attorney for Amici Curiae Copyright and Intellectual Property Law Professors
            Case 15-1164, Document 55, 08/04/2015, 1569243, Page3 of 4




   MOTION OF COPYRIGHT AND INTELLECTUAL PROPERTY LAW
    PROFESSORS FOR LEAVE TO FILE A BRIEF AMICI CURIAE IN
   SUPPORT OF DEFENDANT-APPELLANT SIRIUS XM RADIO INC.

      Pursuant to Federal Rule of Appellate Procedure 29(b), counsel for

prospective amici curiae respectfully moves for leave to file the accompanying

Brief Amici Curiae of Copyright and Intellectual Property Law Professors in

Support of Defendant-Appellant Sirius XM Radio, Inc. Defendant-Appellant has

consented to the filing, but Plaintiff-Appellee has not.

      Based on the background and interest of amici, counsel respectfully requests

that the Court grant this motion. In support of the present motion, counsel states

the following:

      1. Amici curiae, whose names and institutional affiliations are listed in the

Appendix, are all professors at U.S. law schools who teach and write about

copyright law or about intellectual property law in general. Amici are familiar with

the history of copyright law and have published numerous books and articles about

copyright law or intellectual property law.

      2. Amici do not have any financial interest in the outcome of this litigation.

The only interest that amici have in this litigation is a respect for the historical

development of copyright law, and a commitment to the orderly development of

copyright law in the future.




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      3. Amici offer a perspective on the historical development of copyright law

and the purported common-law right of public performance that is richer and more

detailed than those of the parties, and one that is untainted by any financial interest

in the outcome.

      4. Amici do not necessarily agree on the merits of a public performance

right for sound recordings, but amici agree that 1) historically there has not been

any public performance right in sound recordings under state law, and 2) the issue

should be addressed prospectively on a nationwide basis, by Congress, rather than

on a piecemeal basis through state-by-state litigation.

      WHEREFORE, the undersigned counsel respectfully requests that

the Court grant its motion for leave to file the attached brief amici curiae.

                                               Respectfully submitted,



Dated August 4, 2015                      By: /s/ Eugene Volokh_____

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                                               Intellectual Property Law Professors
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